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UN|TED STATES OF AMER|CA
P|aintiff

VS.
CR. NO. 05-20190-D

KAREY FRANKL|N

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|F¥|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a re ort date of Thursda Au ust 25 2005 at 9:00 a.m., in Courtroom 3. 9th Floor of

 

the Federal Building, Memphis, TN.

The period from June 30, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT is so 0RDERED this fe 44"day of Juiy, 2005.

BERN|CE B. DO§ALD

UN|TED STATES D|STR|CT JUDGE

   

This document entered on the dockets
with Fiuie 55 and/or 32{!:)) FFiCrP on

   

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This notice confirms a copy of the document docketed as number 23 in
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Honorable Bernice Donald
US DISTRICT COURT

